                                               Case 5:20-cv-02703-BLF Document 9 Filed 10/19/20 Page 1 of 2




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                                   8                                  UNITED STATES DISTRICT COURT
                                   9                              NORTHERN DISTRICT OF CALIFORNIA
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                                        LAMAR H. CAUSEY, Sr.,                              Case No. 20-02703 BLF (PR)
                                  11
                                                         Plaintiff,                        ORDER OF DISMISSAL
                                  12
Northern District of California




                                                  v.
 United States District Court




                                  13

                                  14    ALAMEDA COUNTY SANTA RITA
                                  15    JAIL,
                                                        Defendant.
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                                  18             Plaintiff, proceeding pro se, filed a civil rights action pursuant to 42 U.S.C. § 1983
                                  19   against the Alameda County Santa Rita Jail. Dkt. No. 1. On September 4, 2020, the Court
                                  20   dismissed the complaint with leave to amend, to correct various deficiencies. Dkt. No. 8.
                                  21   Plaintiff was directed to file an amended complaint within twenty-eight days from the date
                                  22   the order was filed and advised that failure to respond would result in the dismissal of the
                                  23   action without prejudice and without further notice to Plaintiff. Id. at 4. The deadline,
                                  24   October 2, 2020, has passed, and Plaintiff has failed to file an amended complaint in the
                                  25   time provided. Accordingly, this action is DISMISSED without prejudice for failure to
                                  26   file an amended complaint. The Clerk shall terminate all pending motions and close the
                                  27   file.
                                  28
                                            Case 5:20-cv-02703-BLF Document 9 Filed 10/19/20 Page 2 of 2




                                   1            IT IS SO ORDERED.
                                   2   Dated: __October 20, 2020____                    ________________________
                                                                                        BETH LABSON FREEMAN
                                   3
                                                                                        United States District Judge
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Northern District of California
 United States District Court




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                                       Order of Dismissal
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